Case 21-30589-MBK              Doc 2637      Filed 06/30/22 Entered 06/30/22 17:42:00                Desc Main
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                                                      June 30, 2022
                                                                                                     Via Email
   Honorable Michael B. Kaplan
   Chief United States Bankruptcy Judge
   United States Bankruptcy Court
   Clarkson S. Fisher US Courthouse
   402 East State Street
   Trenton, NJ 08608

              Re:     LTL Management LLC
                      Case No. 21-30589 (MBK)
                      LTL Management LLC v. Those Parties Listed on Appendix A
                      Adv. Pro. No. 21-03032(MBK)
                      Our File No.: 24987.001

   Dear Judge Kaplan:

              This firm serves as local counsel to the Talc Creditors Committee (“TCC”) in the above referenced
   matters.

           We are in receipt of the Court’s Order dated June 27, 2022 [docket #2609] adjourning all matters
   scheduled for hearing on July 6th to July 26, 2022, with the exception of the “revisiting” of the application
   of the automatic stay and imposition of a preliminary injunction with regard to the non-debtor parties (the
   “PI Issues”).

            The Court’s Order further indicates that the argument on the PI Issues would be held by zoom on
   July 6th and would be confined to no more than 2 hours and 15 minutes.

             It is the view of the TCC that the PI Matters are so important as to warrant in person argument and
   it is likely that the arguments on this issue will consume more than 2 hours and 15 minutes. We also believe
   that resolution of the PI Issues is intertwined with other matters on the July 26th calendar, including the
   Debtor’s request for estimation. Based upon the foregoing, the TCC respectfully requests that the Court
   adjourn the PI Matters to July 26 and afford ample time for these matters to be fully argued.

            We have reached out to counsel for the Debtor and to the two other firms who have independently
   moved that the stay and preliminary injunction as to non-debtors be terminated. The two other moving
   parties have advised that they do not object to the adjournment of the PI Matters to July 26. The Debtor
   opposes the claimants’ request to adjourn the July 6, 2022 hearing on the continuation of the automatic stay
   and preliminary injunction. The Debtor believes that a ruling by this Court on the claimants’ requests to
   modify or lift the automatic stay and preliminary injunction could assist the ongoing mediation efforts. In
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 addition, the Court’s Order Adjourning Matters [docket #2609] entered on June 27, 2022 adjourns various
 matters that were set for the July 6th hearing but did not adjourn oral argument on continuation of the
 automatic stay and preliminary injunction. It thus appears to the Debtor that the Court’s Order reflects a
 preference by the Court to proceed with those matters in advance of the July 26, 2022 hearing.

         Based upon the foregoing, the TCC respectfully requests that the Court adjourn the PI Matters to
 July 26, 2022 and set the deadline for parties to reply to the Debtor’s response to July 19, 2022.

          In light of the fact that our reply would otherwise need to be filed by July 5th at noon, we respectfully
 request the Court’s prompt attention to this matter.

          We thank the Court for its ongoing courtesies.

                                                              Respectfully yours,

                                                              GENOVA BURNS LLC


                                                              DANIEL M. STOLZ

 DMS:lld

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